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                          /s/ A. Brian Albritton
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                           /s/ A. Brian Albritton
